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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

CIVIL ACTION NO. 21-CV-10417-RWZ

IEP TECHNOLOGIES, LLC
V.

KPM ANALYTICS, INC.

ORDER

 

September 20, 2022
ZOBEL, S.D.J.

Plaintiff IEP Technologies, LLC initiated this lawsuit on March 10, 2021, alleging
trademark infringement by Defendant, KPM Analytics, Inc. Each party has since filed
several motions, mostly relating to discovery disputes. Considering the disputes, and the
parties’ request for assistance to resolve them, the court will appoint a special master.
Within one week of the date of this order, the parties shall submit either (1) an agreement
naming the person to be appointed, or (2) if they are unable to reach an agreement, a
recommendation and brief description of the qualifications of the person proposed by
each party.

Defendant's motion to stay (Docket # 60) while the pending motions are resolved
is ALLOWED. Plaintiffs motion to extend discovery to August 15, 2022 (Docket # 51) is
DENIED as moot. Defendant's motion to extend discovery to September 13, 2022

(Docket # 54) is DENIED as moot. Defendant's motion for leave to file an omnibus reply
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(Docket # 61) is ALLOWED and it shall be filed forthwith. The remaining pending motions

in this matter will be referred to the special master.

September 20, 2022 ou Ore

DATE () RYA W. ZOBEL
UNITED STATES DISTRICT JUDGE
